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                   EXHIBIT
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                                                                                 1455 Pennsylvania Ave., NW
                                                                                                   Suite 400
                                                                                     Washington, D.C. 20004
                                                                                          Tel. 202-280-6370
                                                                                          Fax. 877-448-4885

June 11, 2018

SENT VIA EMAIL AND FEDERAL EXPRESS: #8126 0278 0435

ATTN: Nikole Thomas
Assistant Director
Counterterrorism, Human Rights, and Corruption Division
Office of Global Targeting
Office of Foreign Assets Control
United States Department of the Treasury
1500 Pennsylvania Avenue, N.W.
Freedman’s Bank Building
Washington, D.C. 20220

Re:     Request for Non-Privileged and Unclassified Summary of Otherwise Privileged
        Information Contained in the Administrative Record1
        Kassem Hejeij—SDGT-12284

Dear Ms. Thomas:

        On April 19, 2018, the United States Department of the Treasury’s Office of Foreign
Assets Control (“OFAC”) provided Kassem Hejeij (“Petitioner”) with a copy of the unclassified
version of the administrative record underlying his designation pursuant to Executive Order
(“E.O.”) 13224. OFAC’s provision of the unclassified version of the administrative record was
in response to Petitioner’s request for disclosure of the administrative record. Petitioner had
requested such disclosure so as to obtain adequate notice as to the basis for his designation and to
ensure that he had a meaningful opportunity to respond to OFAC’s allegations.

        The administrative record disclosed by OFAC fails to accord Petitioner sufficient notice
as to the basis of his designation. Specifically, this version of the administrative record is almost
completely redacted, with the exception of identifying information. Most notably, the redactions
include the entire portion of the record titled “Basis for Designation.” As a result, OFAC’s

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  Because this response contains business information and/or other information of a sensitive nature, undersigned
counsel respectfully requests that OFAC treat this correspondence confidentially. If OFAC believes that it is
required to release this document or any of the information contained herein to the public in accordance with the
Freedom of Information Act (“FOIA”) or any other federal law, please notify undersigned counsel as soon as
possible. Undersigned counsel intends to provide additional information in support of this request for
confidentiality.
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disclosure of the administrative record provides no additional notice as to the reasons supporting
Petitioner’s designation, and is thus largely non-responsive to Petitioner’s request for disclosure
as to the factual basis of his designation.

       Petitioner intends to address OFAC’s allegations concerning his business ties and
dealings. To do so, however, Petitioner requires adequate notice as to the basis of his
designation so that he can either rebut the factual findings underlying that basis or change the
circumstances supporting it. Such notice can be provided either through disclosure of the
redacted portions of the administrative record or by disclosure of a non-privileged and
unclassified summary of the classified and/or privileged information contained in the
administrative record. In undersigned counsel’s experience, OFAC has routinely provided
designated parties with such summaries in those cases where it is unable to disclose the full
administrative record.

       For this reason, Petitioner respectfully requests that OFAC provide a non-privileged and
unclassified summary of otherwise privileged information contained within the administrative
record. Any such summary should provide Petitioner with the following factual information
described in the redacted portions of the administrative record:

   1) The identity of the “Hizballah organizational elements” Petitioner allegedly maintains
      “direct ties” to;

   2) A description of the manner by which Petitioner allegedly maintains direct ties to
      Hizballah organizational elements;

   3) The approximate date(s) upon which Petitioner established such purported direct ties to
      Hizballah organizational elements;

   4) The name(s) of the bank(s) in Lebanon at which Petitioner has allegedly opened bank
      accounts on behalf of Hizballah;

   5) The approximate date(s) upon which Petitioner allegedly opened bank accounts on behalf
      of Hizballah;

   6) The identity of the Hizballah procurement companies for which Petitioner allegedly
      provided credit;

   7) The approximate date(s) upon which Petitioner allegedly provided credit for Hizballah
      procurement companies;




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   8) A description of the manner by which Petitioner allegedly provided credit for Hizballah
      procurement companies (e.g., through private loans, commercial or personal loans
      through a financial institution, etc.);

   9) The identity of the particular infrastructure in Lebanon or Iraq used by Hizballah in
      which Petitioner allegedly invested in;

   10) The approximate date(s) upon which Petitioner invested in infrastructure used by
       Hizballah;

   11) The approximate date(s) upon which Hizballah began using the infrastructure that
       Petitioner purportedly invested in;

   12) A description of the manner of Petitioner’s alleged investment in infrastructure used by
       Hizballah (e.g., direct cash investment, extensions of banking products, purchase of
       equity, dealings in debt, etc.);

   13) The identity of the oil ventures in Iraq in which Petitioner allegedly worked on with Ali
       Youseff Charara;

   14) A description of the manner by which Petitioner allegedly worked on oil ventures in Iraq
       with Ali Youseff Charara;

   15) The approximate date(s) upon which Petitioner allegedly began working on oil ventures
       in Iraq with Ali Youseff Charara; and

   16) The identification of whether Petitioner is believed to have carried out any of the alleged
       activities supporting his designations in his personal capacity or in his prior capacity as
       the Chairman of the Middle East Africa Bank.

        Due to the ongoing and substantial harms visited on Petitioner as a result of his continued
designation, Petitioner requests that OFAC furnish a copy of a non-privileged and unclassified
summary within thirty (30) days from the date of this letter. Absent disclosure of an unclassified
summary or OFAC’s identification as to when Petitioner can expect additional disclosures of the
administrative record, Petitioner intends to pursue any legal remedies available to him in the U.S.
District Court.

       It is not Petitioner’s intent to burden the agency with litigation, however, Petitioner can
only successfully seek reconsideration of his designation if he has access to the factual and legal
basis for that designation. The disclosure requested through this letter would provide such



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information and afford Petitioner a meaningful opportunity to seek reconsideration of his
designation.

       Please forward all correspondence related to this matter to:

Erich C. Ferrari
Ferrari & Associates, P.C.
1455 Pennsylvania Ave., NW
Suite 400
Washington, D.C. 20004

       Thank you for your consideration, and we look forward to this response.

Sincerely,




Erich C. Ferrari




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OFFICE OF FOREIGN ASSETS CONTROL                         SPECIALLY DESIGNATED NATIONALS & BLOCKED PERSONS




April 18, 2018                                                                                      - 433 -
